Case 9:21-cr-80166-RAR Document 15 Entered on FLSD Docket 10/28/2021 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 21-80166-CR-RAR


  UNITED STATES OF AMERICA,

                  Plaintiff,

        v.

  TIFFANY CANDOFF,

              Defendant.
  ______________________________________/


                               PRETRIAL DETENTION ORDER

        For the reasons stated herein, the Defendant shall be detained pending trial,

  without prejudice to seeking a full detention hearing at a subsequent date.

        On October 28, 2021, the Defendant appeared before the Court for a pretrial

  detention hearing pursuant to 18 U.S.C. § 3142(f). Rather than proceed with an

  evidentiary hearing, and with advice of counsel, the Defendant stipulated to

  detention, expressly reserving his right to seek a full detention hearing at a

  subsequent date.

        The Court takes judicial notice of the charges and the record in this case. The

  Court finds that there is a factual and legal basis to accept the Defendant’s stipulation

  to detention.

        Now, therefore, it is hereby ORDERED that Defendant is committed to the

  custody of the Attorney General or a designated representative for confinement in a
Case 9:21-cr-80166-RAR Document 15 Entered on FLSD Docket 10/28/2021 Page 2 of 2




  corrections facility separate, to the extent practicable, from persons awaiting or

  serving sentences or held in custody pending appeal. Defendant must be afforded a

  reasonable opportunity to consult privately with defense counsel. On order of a court

  of the United States or on request of an attorney for the Government, the person in

  charge of the corrections facility must deliver Defendant to the United States Marshal

  for the purpose of a court appearance.      This Order is without prejudice to the

  Defendant seeking a full detention hearing at a subsequent date.

        DONE and ORDERED in Chambers at West Palm Beach, Palm Beach

  County, in the Southern District of Florida, this 28th day of October 2021.




                                         __________________________________
                                         BRUCE E. REINHART
                                         UNITED STATES MAGISTRATE JUDGE




                                               2
